
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Latif Rashe’d appeals the district court’s order dismissing his 42 U.S.C. § 1983 (2006) complaint under 28 U.S.C. § 1915A(b)(l) (2006). We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Rashe’d v. Dillman, No. 7:08-cv-00333-jct-mfu, 2008 WL 2271227 (W.D.Va. June 2, 2008). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

